                                IN THE
               Case 4:20-cr-00269-Y    UNITED100
                                     Document STATES
                                                 FiledDISTRICT
                                                       01/20/22 COURT
                                                                 Page 1 of 1 PageID 955
                               FOR THE NORTHERN DISTRICT OF TEXAS
                             ORDER STRIKING AND UNFILING DOCUMENT(S)
The Court has independently determined that the document(s) below should be stricken and unfiled. Accordingly, it is ordered
that the document(s) is/are stricken from the record of this case, and the Clerk is directed to note on the docket that the
document(s) has/have been unfiled.

    January 20, 2022                                                                  , United States District Judge
    DATE                                                        U.S. DISTRICT/MAGISTRATE
                                                                     DIS
                                                                      ISTRICT//MAGIST        JUDGE

                                                        NOTICE OF DEFICIENCY
    Judge: Means                                                            Date: 1/11/2022
    Case Number: 4:20-CR-269-Y                                              Style: US v. Kay

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    A(n) Motions for Leave to File Reply Briefs (docs. 98 and 99)                                                       has been filed by
    LA Times Communications LLC                                                and is considered deficient in the area(s) noted below:
                 1.         A civil cover sheet must be filed with the complaint. See LR 3.1(a) or LR 3.2(c).
                 2.         The document(s) must be in proper form. See LR 10.1 or LCrR 49.3.
                 3.         The signature of the attorney of record, which includes a party proceeding pro se, is required on each
                            document filed. See FED. R. Civ. P. 11(a), FED. R. Crim. P. 49(d), LR 11.1(b), or LCrR 49.5(b).
                 4.         A completed certificate of service is required. See FED. R. Civ. P. 5(d) or FED. R. Crim. P. 49(d).
                 5.         Each separate document contained therein must be identified. See LR 5.1(c) or LCrR 49.2(c).
             ✔ 6.           The motion RUUHVSRQVHmust include:
                       a.     ✔           certificate of conference or inability to confer. See LR 7.1(b) or LCrR 47.1(b).
                       b.                  brief in support of motion. See LR 7.1(d), LR 56.5(a), or LCrR 47.1(d).
                       c.                  proposed order. See LR 7.1(c) or LCrR 47.1(c).
                       d.                  documentary or non-documentary evidence in a separate appendix. See LR 7.1(i) or LR 56.6.
                7.      A motion for leave to amend must have a copy of the proposed amended pleading attached as an exhibit.
                        See LR 15.1(a) and (b). If the motion for leave to amend is filed on paper, the motion must be
                        accompanied by an original and second copy of the proposed amended pleading that is neither attached to the
                        motion nor made an exhibit to the motion. See LR 15.1(a).
                8.      A motion for continuance of a trial setting must be signed by the party as well as by the attorney of record.
                        See LR 40.1.
                9.      An attorney seeking pro hac vice admission must apply for admission on an approved form and pay the
                        applicable fee. See LR 83.9(b) or LCrR 57.9(b).
                10.     Additional copies are required. See LR 5.1(b) or LCrR 49.2(b).
                11.     The attorney filing the pleading is not admitted to practice in this district. See LR 83.7 or LCrR 57.7.
                12.     The document requires a separately signed certificate of interested persons. See LR 3.1(c), LR 3.2(e),
                        LR 7.4, LR 81.1 (a)(3)(D), or LR 81.2.
                13.     Other:
